Case 2:05-cV-O2142-.]P|\/|-de Document 29 Filed 07/06/05 Page 1 of 2 Page|D 29

IN THE UNITED STATES DISTRICT COURT HEDBLMSB;L~»“DR
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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ANGELA MccUTcHEN and TPUS¢‘AS€\A. GOULD
cHRIsToPHER Mccu'rcHEN, U.S. DISTRICTGUHT
W OFYN.MEW\'I'$

Plaintiffs,

v-
NO. 05*2142 Ml/V
METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,
WILLIAM PATTERSON,

GALEN SANDERS, PAUL SHARPElr
TIPTON COUNTY, LAURA ADKINS,
WILLIAM WHITE and

BRANDON WILLIAMS,

vvvvvvwvvvvvvvvv

Defendants.

 

ORDER GRANTING PLAINTIFFS' MOTION FOR EXTENSION OF TIME TO FILE
RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

 

Before the Court is Plaintiffs' motion for extension of time
to respond to the motion to dismiss of Defendants Tipton County,
Laura Adkins, William White, and Brandon Williams, filed July 1,
2005. Good Cause having been shown, the Court GRANTS the motion.
Plaintiffs shall have until August 15l 2005, to file their
response.

IT IS SO ORDERED this 69 day of July, 2005.

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(JOM P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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with nme 53 and/or 79(a) FHcP on 12 'Q'Q§ 29

 

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This notice confirms a copy of the document docketed as number 29 in
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ESSEE

 

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US DISTRICT COURT

